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                Exhibit D
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                                                                                    Tishaura O' Jones ' MoYor
                                                                           NeaI Richardson ' President & CEO


          SLDC                                                                 l52O Market Street' Suite 2000
                                                                                           St. Louis, MO 63103
                                                                                  314.657.3700 ' F: 314.613.701l
ST. LOUIS DEVELOPMENT CORPORATION                                                            devetoPstlou is.org



                                               April   I 1, 2023


     Re     Victim Impact Statement - St. Louis Development Corporation
            United Staies of America v. Brian Kowert, Sr' (4:22CR175-IIEA-DDI\)

     Honorable Judge AutreY,

     Mr. Kowert's actions have harrned St. Louis Development corporation ('SLDC'), underrnined
     th" g;t ;i it. Lo,ris' Minority Business Enterprise program (.,MBE
                                                                                program"), and caused
                                                                                                  region'
     sufstantia in;ury to the duly certified and struggling minority-owned firms in the St. Louis
                                                                                           with racial
     St. Louis has a history ofdisinvesting in minority-ouned businesses and has contended
                                                                                             playing field
     exclusion in the construction indusiy. The MBE Program was created to level the
                                                               receiving local government   incentives  on
     and inject equity into the contracting practices of firms
                                                                               in part          they offer
     J*aop-*i p-iects. Such projecti*;oy gor"--ent-backed benefits                     because
                                                                                                   goal of
     disadvantaged finns an oppornrnity to participate in construction trades. It is a dedicated
     the City,s idministration to pro.ot" minoriry firm participation so that disinvested
                                                                                             communities
     in the City may thrive.

                                                                               city's   goals and the MBE
     The behaviot of bad actors like Mr. Kowert subvert the efficacy of the
     rrog.u-. Through his fraud, Mr. Kowert derived benefits ftom govemment incentives on the
     cr""-t". Co"a, p"roject, while knowingly f,uneling contracting dollars away fr9- t9 certified
     minority-owned t ir" tl" MBE Program was designed to protect. I cannot help but think of
                                                                                               the
     injuries suffere<l by the minority firms who were denied an opportunity to participate in the
     corstruction industry because of Mr. Kowert's duplicity.

     Mr. Kowert's behavior has also adversely impacted the City of St. Louis' overall development
     goals. The purpose of tax abatement incentives is to remediate blight and foster development in
     leeping wiih ihe public policy objectives established by the Crty's legislative body, such as
     .r*rrigirrg minority participation in construction activities. Mr. Kowert's acts are offensive to
     the City s legislative directives and undermines the City's ability and willinpess to support
     development Projects.

     Fimlly, Mr. Kowert     has caused dfuect injury to St. Louis Development Corporation. SLDC is
     tasked by the City of St. Louis with administering and ensuring compliance with MBE Program.
     Its dedicated ernployees invested substantial time working with Mr. Kowert in good faith to ensure
     the Greater Goods project complied with its MBE participation goals. When Mr. Kowert's fraud
     came to light, I waJboth saddened and infiriated to leam ofthe callousness with which he treated
     SLDC employees through his lies, to say nothing of the invaluable time and commitment by SLDC
     employees wasted by his misdeeds.


       Cleon Energy Development Bootd . Enhanced Enterptise Zone Boord 'lndustriol Development Authotity
      Lond Cleqronce for Redevelopment Authotity Lond Reutilizqtion Authority ' Locol Development Compony
                                                   ,

            Plonned tndustrial Exponsion Authority. Port Authority Tox lncrement Finoncing commission
                                                                  ,
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Mr. Kowert must be held accountable for his actions. The social and economic injury his behavior
has caused must not be understated, and I ask the Court to consider in its sentencing the fir1l impact
his fiaud has had on the MBE Program, the city ofst. Louis, st. Louis Development corporation,
and all the historically disinvested minority-owned firms in the City of St. Louis'



Sincerely,




Neal
President & CEO
St. Louis Development Corpomtion
